           Case 1:10-cv-00210-PLF Document 56 Filed 09/24/10 Page 1 of 2



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
RODNEY LAIL, et al.                        )
                                           )
                  Plaintiff,               )
                                           ) Civil Action No. 10-0210(PLF)
            v.                             ) (ECF)
                                           )
UNITED STATES GOVERNMENT, et al.           )
                                           )
                  Defendants.              )
__________________________________________)

                                 NOTICE OF APPEARANCE

       The Clerk of the Court will please enter the appearance of Assistant United States

Attorney Kenneth Adebonojo as counsel on behalf of the United States Government, Federal

Bureau of Investigation and its employees, Paul Gardner, David M. Hardy, Kerry Haynes, Noel

Herold, Thomas Isabella, Jr., Michael Kirkpatrick, Thomas Marsh, Monte Dell McKee, George

Skaluba, Chris Swecker, Matt Perry, N. John Benson, Phil Celestini and David Caldwell in their

official and individual capacity in the above-captioned case.1


                                              ___/s/_______________________________
                                              KENNETH ADEBONOJO
                                              Assistant United States Attorney
                                              Judiciary Center Building
                                              555 4th Street, N.W. – Civil Division
                                              Washington, D.C. 20530
                                              (202) 514-7157
                                              (202) 514-8780 (facsimile)
                                              kenneth.adebonojo@usdoj.gov




       1
              Defendants Chris Swecker, Matt Perry, N. John Benson, and Phil Celestini join
the other named Defendants Motion to Enlarge Time, Docket Entry 53, which was granted by the
Honorable Paul L. Friedman, USDJ, by Minute Order on September 21, 2010.
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                                CERTIFICATE OF SERVICE

       I certify I caused copies of the forgoing Praecipe to be served on the Pro Se Plaintiff,

Rodney Lail by U.S. Mail postage pre-paid and addressed as the follows:

Rodney Lail
P.O. Box 2753
Myrtle Beach, SC 29578

on this 24th day of September 2010.
                                      ________________/s/_____________
                                            KENNETH ADEBONOJO
                                            Assistant United States Attorney
